Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 1 of 60 Page ID #:111




                       EXHIBIT A
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 2 of 60 Page ID #:112


                               FEDERAL PUBLIC DEFENDER
                               CENTRAL DISTRICT OF CALIFORNIA
                                     321 EAST 2nd STREET
                              LOS ANGELES, CALIFORNIA 90012-4202
                                            213-894-2854
                                          213-894-0081 FAX

CUAUHTEMOC ORTEGA                                                             ANGELA VIRAMONTES
Federal Public Defender                                                           Riverside Branch Chief
AMY M. KARLIN                                                                         KELLEY MUNOZ
Chief Deputy                                                                     Santa Ana Branch Chief
                                                                         K. ELIZABETH DAHLSTROM
                                                                               Chief, Capital Habeas Unit

                                                                               Direct Dial: (213) 894-4795



                                         March 5, 2023

Mark Williams
Matt O'Brien
Brian Faerstein
Assistant United States Attorneys
United States Attorney’s Office
312 N. Spring Street
Los Angeles, CA 90012


        Re:     Third Supplemental Discovery Request
                United States v. Jerry Boylan, 2:20-CR-00600-GW


Dear Mr. Williams, Mr. O'Brien, and Mr. Faerstein:

       We are writing to memorialize prior discovery requests and reiterate our prior request for
discovery pertaining to the digital devices in the government’s possession.

        On August 10, 2022, we requested complete extractions of all electronic devices searched
by the government. See Second Supplemental Discovery Requested (dated August 10, 2022).
By email you indicated that you would only be providing limited portions of the data from the
devices; specifically, the data that was bookmarked by the agent during his review of the
complete contents of the devices. You requested that we provide authority for producing the
complete image of any device not belonging to Mr. Boylan. I replied and directed you to Federal
Rule of Criminal Procedure 16(a)(1)(E). I also informed you of your office’s practice of
producing the complete contents of cell phones belonging to decedents in drug overdose cases
and directed to you one example of a case where your office produced a decedent’s cell phone as
a matter of course.

//
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 3 of 60 Page ID #:113


March 5, 2023
Page 2



         Rule 16(a)(1)(E) provides:

         (E) Documents and Objects. Upon a defendant’s request, the government must permit the
         defendant to inspect and to copy or photograph books, papers, documents, data,
         photographs, tangible objects, buildings or places, or copies or portions of any of these
         items, if the item is within the government's possession, custody, or control and:

                  (i) the item is material to preparing the defense;

                  (ii) the government intends to use the item in its case-in-chief at trial; or

                  (iii) the item was obtained from or belongs to the defendant.

        The complete contents of the devices must be produced under prongs (i) and (ii). The
devices have data that the government intends to introduce in its case-in-chief. Because you
intend to use the device and data recovered from it at trial, you must produce the device for
inspection and copying by the defense under the plain terms of Rule 16(a)(1)(E)(ii). Because the
government intends to use items obtained from the devices to prove Mr. Boylan’s guilt, the
analysis of the devices is also material to preparing a defense and must be produced under Rule
16(a)(1)(E)(i).

        Without the complete image, the defense is unable to: (1) authenticate/validate the
evidence being produced; (2) analyze the seized item properly for defense strategy purposes; (3)
determine how an artifact was utilized by the user; 1 (4) verify the findings of potential
government witnesses regarding electronically stored information; and (5) verify or dispute the
veracity of claims by witnesses pertaining to the digital evidence.

       What can be uncovered during a complete analysis of a forensic device is explained by
Special Agent Jamie E. Wray in the declaration he submitted in support of search warrant
#45A-LA-3161932 (BOYLAN_00271515). In Paragraph 34 he declares:

         1
            Just as forensic pathologists can examine a cadaver's fractures, bruises, calluses, and scars to determine
what happened to that body over a person's lifetime, so too can a computer forensic analyst examine a hard drive to
learn how a computer was used. When a computer user accesses a web site, opens a file, launches a program, starts
the computer, shuts it down, logs on, logs off, installs software, removes software, or attaches a flash drive, hard
drives reflect those actions. Forensic analysts term such evidence “artifacts.” Like archaeological artifacts showing
how people once lived, forensic artifacts show how computers were used. Log files show what software programs
did. Virtual memory paging files can reveal what was once in memory. Temporary files and link files can reveal that
someone created, opened, or saved particular files. When a user saves a file in Microsoft Word, for example, eight
different files or folders are created, modified, or accessed in sixteen different steps, all occurring in less than a
second. In Windows, a vast configuration database, called the "registry," is an evidence treasure chest, showing
recent user commands, recent files opened, recent network drives accessed, recent web sites visited, whether USB
flash drives were attached, what Wi-Fi wireless access points have been used, and more. Goldfoot, J., The Physical
Computer and the Fourth Amendment, 16 BERKELEY J. CRIM. L. 112, 127 (2011)
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 4 of 60 Page ID #:114


March 5, 2023
Page 3


                Based on my training, experience, and information from those involved in the
                forensic examination of digital devices, I know that the following electronic
                evidence, inter alia, is often retrievable from digital devices:

                        a. Forensic methods may uncover electronic files or remnants of such files
                months or even years after the files have been downloaded, deleted, or viewed via
                the Internet. Normally, when a person deletes a file on a computer, the data
                contained in the file does not disappear; rather, the data remain on the hard drive
                until overwritten by new data, which may only occur after a long period of time.
                Similarly, files viewed on the Internet are often automatically downloaded into a
                temporary directory or cache that are only overwritten as they are replaced with
                more recently downloaded or viewed content and may also be recoverable months
                or years later.

                        b. Digital devices often contain electronic evidence related to a crime, the
                device’s user, or the existence of evidence in other locations, such as, how the
                device has been used, what it has been used for, who has used it, and who has
                been responsible for creating or maintaining records, documents, programs,
                applications, and materials on the device. That evidence is often stored in logs and
                other artifacts that are not kept in places where the user stores files, and in places
                where the user may be unaware of them. For example, recoverable data can
                include evidence of deleted or edited files; recently used tasks and processes;
                online nicknames and passwords in the form of configuration data stored by
                browser, e-mail, and chat programs; attachment of other devices; times the device
                was in use; and file creation dates and sequence.

                       c. The absence of data on a digital device may be evidence of how the
                device was used, what it was used for, and who used it. For example, showing the
                absence of certain software on a device may be necessary to rebut a claim that the
                device was being controlled remotely by such software.”

//

//

//

//

//

//
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 5 of 60 Page ID #:115


March 5, 2023
Page 4

         The defense must be permitted to conduct an analysis of the complete extraction for the
same exact reasons cited by SA Wray. Because the agent who reviewed and bookmarked the
extraction does not know the nature of the defense, the government cannot guarantee compliance
with Rule 16 or Brady by the limited production from the devices. We are reiterating our
request for the complete extraction of all devices in the government’s possession—not just what
the agent(s) decided to bookmark as relevant and produce as a reporting of their findings. We
would greatly appreciate a response as soon as possible—ideally within the week, as we intend
to litigate this issue as soon as possible to avoid any trial delays.


                                     Sincerely,


                                      /S/
                                     Georgina Wakefield
                                     Gabriela Rivera
                                     Julia Deixler
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 6 of 60 Page ID #:116




                       EXHIBIT B
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 7 of 60 Page ID #:117

                                        United States Department of Justice
                                               United States Attorney’s Office
                                                Central District of California

 Mark A. Williams                                            1300 United States Courthouse
 Assistant United States Attorney                            312 North Spring Street
 Environmental and Community Safety Crimes Section           Los Angeles, California 90012
 Phone: (213) 894-3359
 E-mail: mark.a.williams@usdoj.gov



March 9, 2023

VIA EMAIL

 Georgina Wakefield
 Gabriela Rivera
 Julia Deixler
 Deputy Federal Public Defenders
 321 East 2nd Street
 Los Angeles, California 90012

        Re:      United States v. Jerry Nehl Boylan,
                 CR No. 22-482-GW

Dear Counsel:

We are writing to respond to your letter dated March 5, 2023, concerning your request for
discovery related to four digital devices. Our position has not changed since September 2022
when we last discussed this issue with you.

As we understand your position, in every case heading to trial where the government intends to
rely on evidence seized from a third party’s digital device pursuant to a search warrant, the
defendant would be entitled to receive a complete mirrored copy of the digital device even
though the search warrant authorized the government to seize only a limited set of responsive
data from that device. If this were correct, the limitations imposed by federal courts pursuant to
nearly every Rule 41 search warrant for a digital device would be rendered meaningless. Every
defendant could simply argue that he or she is unable to authenticate/validate/verify the findings
of the agent(s) who performed the search of the digital device without getting the complete
extraction; the government would then be forced to produce information to which it has no legal
right to access pursuant to the warrant; and the defense would obtain far more information from
the digital device than the government possesses, leading to inevitable disputes about reciprocal
discovery obligations. In our view, your position would turn the well-established process, and
Rule 41 itself, on its head.

Similarly, for digital devices searched pursuant to a victim’s family’s consent, your position
appears to be that the defense is entitled to search the entire device. This would cause several
problems, including raising privacy concerns and dissuading victims or their families from
consenting to a limited search in the first place.
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 8 of 60 Page ID #:118

Wakefield / Rivera / Deixler
Deputy Federal Public Defenders
RE: United States v. Jerry Boylan, CR No. 22-482-GW
March 9, 2023
Page 2


If we are misunderstanding your position, or if you have any judicial opinions backing your
position, please let us know. Respectfully, we do not find persuasive your reliance on the plain
language of Rule 16 and a single decision by one of our colleagues in a very different
prosecution.

If you simply disagree with us, we respectfully request that you file a motion as soon as possible
so that this issue can be litigated without delaying the trial. As you know, we communicated our
position on this issue to you six months ago.

Please let us know if you have any questions or would like to further discuss any of the matters
raised above.

Very truly yours,

       /s/

MARK A. WILLIAMS
MATTHEW W. O’BRIEN
BRIAN R. FAERSTEIN
Assistant United States Attorneys
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 9 of 60 Page ID #:119




                       EXHIBIT C
      Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 10 of 60 Page ID #:120
AO 106 (Rev. 04/10) Application for a Search Warrant



                                      United States District Court
                                                                   for the
                                                       Central District of California

                   In the Matter of the Search of                    )
         The Passenger Vessel Conception Wreckage                    J         Case No. 2:19-MJ-03738

                                                                     )
                                                                     )
                                                                     )
                                                                     )
                                                                     )


                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

      See Attachment A-4
located in the Central District of California, there is now concealed (identify the person or describe the property to be seized):
      See Attachment B-4

          The basis for the search under Fed. R. Crim. P. 41(c) is           (check one or more):

                 X evidence of a crime;
                 K contraband, fruits of crime, or other items illegally possessed;
                 X property designed for use, intended for use, or used in committing a crime;
                 □ a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
             Code Section                                                          Offense Description
        Title 18, United States Code, Section 1115                  Misconduct or Neglect of Ship Officer Resulting
                                                                    in Destruction of a Person



          The application is based on these facts:
                 See attached Affidavit
                 X Continued on the attached sheet.
      □ Delayed notice of            days (give exact ending date if more than 30 days:) is requested
      under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                    Applicant’s signature

                                                                                              CGIS Special Agent Jaime Wray
Sworn to before me and signed in my presence.                                                       Printed name and title

                                                                                              Honorable Louise A. LaMothe
Date:      9/7/19_____________
                                                                                                      Judge’s signature

City and state: Santa Barbara, CA_______________
                                                                                                    Printed name and title
AUSA: Mark Williams x3359 & Joseph Johns x4536



                                                                                                                             BOYLAN_00271474
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 11 of 60 Page ID #:121



                              ATTACHMENT A-4

       THE SUBJECT PREMISES

       SUBJECT PREMISES A-4 is the vessel P/V CONCEPTION, Official

 Number 638133,    including all remains of the wreckage, hull,

 and/or structures, and all debris and/or materials associated

 with the P/V CONCEPTION,     including any digital devices recovered

 from the P/V CONCEPTION'S wreckage and/or debris field

  (collectively, the "P/V CONCEPTION WRECKAGE").        The name

 "Conception" and the Official Number 638133 are painted on the

 side of the hull.




                                                                      BOYLAN_00271475
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 12 of 60 Page ID #:122



                              ATTACHMENT B-4

                         1.    ITEMS TO BE SEIZED

       The following is a list of items to be seized from SUBJECT

 PREMISES A-4, namely, the P/V CONCEPTION WRECKAGE, which

 constitute evidence, contraband,         fruits, and/or

 instrumentalities of violations of 18 U.S.C. § 1115            (Seaman's

 Manslaughter):


       1.    The Passenger Vessel    ("P/V")    CONCEPTION,    including all

 remains of the wreckage, hull, and/or structures, and all debris

 and/or materials associated with the P/V CONCEPTION,            including

 any digital devices recovered from the P/V CONCEPTION'S wreckage

 and/or debris field.

       2.    Evidence relating to the origin of the fire aboard the

 P/V CONCEPTION on or about September 2, 2019.

       3.    Evidence relating to the causation of the fire aboard

 the P/V CONCEPTION on or about September 2, 2019.

       4.    Evidence of custom, defective, and/or non-compliant

 electrical equipment,     systems, and/or components on the P/V

 CONCEPTION.

       5.    Evidence of custom, defective, or non-compliant fire

 detection or suppression systems on the P/V CONCEPTION.

       6.    Evidence of custom, defective, and/or non-compliant

 passenger safety and/or evacuation structures,            systems, and/or

 procedures on the P/V CONCEPTION.




                                      I



                                                                       BOYLAN 00271476
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 13 of 60 Page ID #:123




       7.     Any digital device which is itself or which contains

 evidence, contraband,     fruits, or instrumentalities of the

 Subject Offense/s, and forensic copies thereof.

       8.     With respect to any digital device containing evidence

 falling within the scope of the foregoing categories of items to

 be seized:

              a.   evidence of who used, owned, or controlled the

 device at the time the things described in this warrant were

 created, edited, or deleted,      such as logs, registry entries,

 configuration files, saved usernames and passwords, documents,

 browsing history, user profiles, e-mail, e-mail contacts, chat

 and instant messaging logs, photographs, and correspondence;

              b.   evidence of the presence or absence of software

 that would allow others to control the device, such as viruses,

 Trojan horses, and other forms of malicious software, as well as

 evidence of the presence or absence of security software

 designed to detect malicious software;

              c.   evidence of the attachment of other devices;

              d.   evidence of counter-forensic programs       (and

 associated data)    that are designed to eliminate data from the

 device;

              e.   evidence of the times the device was used;

              f.   passwords, encryption keys, biometric keys, and

 other access devices that may be necessary to access the device;

              g.   applications, utility programs, compilers,

 interpreters, or other software, as well as documentation and




                                      2



                                                                      BOYLAN 00271477
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 14 of 60 Page ID #:124




 manuals, that may be necessary to access the device or to

 conduct a forensic examination of it;

             h.    records of or information about Internet Protocol

 addresses used by the device;

              i.   records of or information about the device's

 Internet activity, including firewall logs, caches, browser

 history and cookies,     "bookmarked" or "favorite" web pages,

 search terms that the user entered into any Internet search

 engine, and records of user-typed web addresses.

       9.    As used herein, the terms "records," "documents,"

 "programs," "applications," and "materials" include records,

 documents, programs, applications, and materials created,

 modified, or stored in any form,         including in digital form on

 any digital device and any forensic copies thereof.

       10.   As used herein, the term "digital device" includes any

 electronic system or device capable of storing or processing

 data in digital form,     including central processing units;

 desktop,    laptop, notebook, and tablet computers; personal

 digital assistants; wireless communication devices,         such as

 telephone paging devices, beepers, mobile telephones, and smart

 phones; digital cameras; gaming consoles         (including Sony

 PlayStations and Microsoft Xboxes); peripheral input/output

 devices, such as keyboards, printers, scanners, plotters,

 monitors, and drives intended for removable media; related

 communications devices,     such as modems, routers, cables, and

 connections; storage media, such as hard disk drives, floppy

 disks, memory cards, optical disks, and magnetic tapes used to


                                      3



                                                                       BOYLAN 00271478
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 15 of 60 Page ID #:125




 store digital data (excluding analog tapes such as VHS) ; and

 security devices.


                  II.        SEARCH PROCEDURE FOR DIGITAL DEVICES


       11.    In searching digital devices or forensic copies

 thereof,    law enforcement personnel executing this search warrant

 will employ the following procedure:

             a.         Law enforcement personnel or other individuals

 assisting law enforcement personnel            (the "search team") will, in

 their discretion, either search the digital device(s) on-site or

 seize and transport the device(s) and/or forensic image(s)

 thereof to an appropriate law enforcement laboratory or similar

 facility to be searched at that location.             The search team shall

 complete the search as soon as is practicable but not to exceed

 120 days from the date of execution of the warrant.                The

 government will not search the digital device(s) and/or forensic

 image(s)    thereof beyond this 120-day period without obtaining an

 extension of time order from the Court.

             b.         The search team will conduct the search only by

 using search protocols specifically chosen to identify only the

 specific items to be seized under this warrant.

                        i.     The search team may subject all of the data

 contained in each digital device capable of containing any of

 the items to be seized to the search protocols to determine

 whether the device and any data thereon falls within the list of

 items to be seized.            The search team may also search for and




                                                                          BOYLAN 00271479
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 16 of 60 Page ID #:126




 attempt to recover deleted,      "hidden," or encrypted data to

 determine, pursuant to the search protocols, whether the data

 falls within the list of items to be seized.

                   ii.   The search team may use tools to exclude

 normal operating system files and standard third-party software

 that do not need to be searched.

                   iii. The search team may use forensic examination

 and searching tools, such as "EnCase" and "FTK"         (Forensic Tool

 Kit), which tools may use hashing and other sophisticated

 techniques [, including to search for known images of child

 pornography].

             c.    If the search team, while searching a digital

 device, encounters immediately apparent contraband or other

 evidence of a crime outside the scope of the items to be seized,

 the team shall immediately discontinue its search of that device

 pending further order of the Court and shall make and retain

 notes detailing how the contraband or other evidence of a crime

 was encountered, including how it was immediately apparent

 contraband or evidence of a crime.

             d.    If the search determines that a digital device

 does not contain any data falling within the list of items to be

 seized, the government will, as soon as is practicable, return

 the device and delete or destroy all forensic copies thereof.

             e.    If the search determines that a digital device

 does contain data falling within the list of items to be seized,

 the government may make and retain copies of such data, and may

 access such data at any time.


                                      5



                                                                      BOYLAN 00271480
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 17 of 60 Page ID #:127




               f.   If the search determines that a digital device is

  (1)   itself an item to be seized and/or (2) contains data falling

 within the list of other items to be seized, the government may

 retain the digital device and any forensic copies of the digital

 device, but may not access data falling outside the scope of the

 other items to be seized (after the time for searching the

 device has expired) absent further court order.

               g.   The government may also retain a digital device

 if the government, prior to the end of the search period,

 obtains an order from the Court authorizing retention of the

 device (or while an application for such an order is pending),

 including in circumstances where the government has not been

 able to fully search a device because the device or files

 contained therein is/are encrypted.

               h.   After the completion of the search of the digital

 devices, the government shall not access digital data falling

 outside the scope of the items to be seized absent further order

 of the Court.

         12.   This warrant authorizes a review of electronic storage

 media seized, electronically stored information, communications,

 other records and information seized, copied or disclosed

 pursuant to this warrant in order to locate evidence, fruits,

 and instrumentalities described in this warrant.          The review of

 this electronic data may be conducted by any government

 personnel assisting in the investigation, who may include,          in

 addition to law enforcement officers and agents, attorneys for

 the government, attorney support staff, and technical experts.


                                      6



                                                                      BOYLAN 00271481
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 18 of 60 Page ID #:128




 Pursuant to this warrant, the investigating agency may deliver a

 complete copy of the seized, copied, or disclosed electronic

 data to the custody and control of attorneys for the government

 and their support staff for their independent review.

         13.   In order to search for data capable of being read or

 interpreted by a digital device, law enforcement personnel are

 authorized to seize the following items:

               a.   Any digital device capable of being used to

 commit, further, or store evidence of the offense(s)         listed

 above;

               b.   Any equipment used to facilitate the

 transmission, creation, display, encoding, or storage of digital

 data;

               c.   Any magnetic, electronic, or optical storage

 device capable of storing digital data;

               d.   Any documentation, operating logs, or reference

 manuals regarding the operation of the digital device or

 software used in the digital device;

               e.   Any applications, utility programs, compilers,

 interpreters, or other software used to facilitate direct or

 indirect communication with the digital device;

               f.   Any physical keys, encryption devices, dongles,

 or similar physical items that are necessary to gain access to

 the digital device or data stored on the digital device; and

               g.   Any passwords, password files, biometric keys,

 test keys, encryption codes, or other information necessary to

 access the digital device or data stored on the digital device.


                                      7



                                                                       BOYLAN 00271482
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 19 of 60 Page ID #:129




       14.   The special procedures relating to digital devices

 found in this warrant govern only the search of digital devices

 pursuant to the authority conferred by this warrant and do not

 apply to any search of digital devices pursuant to any other

 court order.




                                      8



                                                                      BOYLAN_00271483
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 20 of 60 Page ID #:130



                                    AFFIDAVIT

       1, JAIME E. WRAY, being duly sworn, declare and state as

 follows:

                              1.    INTRODUCTION

       1.    I am a Special Agent       ("SA") with the United States

 Coast Guard Investigative         ("CGIS"), and have been so employed

 since February 2018.     Before that, from 2005 to 2017, I worked

 as a Boarding Officer conducting at sea and in port safety

 boarding and inspections of hundreds of vessels.          I am a

 graduate of the Federal Law Enforcement Training Center Criminal

 Investigator Training Program.         I am also a graduate of the U.S.

 Coast Guard ("USCG") Maritime Law Enforcement Academy.             I have

 specialized training and experience in USCG Port State Control

 Vessel Inspections,    including inspections of the vessel itself,

 safety equipment, engineering equipment, navigation equipment,

 and operations materials.

                         11. PURPOSE OF AFFIDAVIT

       2.    This affidavit is made in support of search warrants

 for the following premises for evidence, fruits, and

 instrumentalities of violations of 18 U.S.C. § 1115         (Seaman's

 Manslaughter):

             a.   The business premises operated by TRUTH AQUATICS,

 INC., and/or SEA LANDING,     located at 301 West Cabrillo

 Boulevard, Santa Barbara, California, which is further described

 in Attachment A-1, for the items to be seized described in

 Attachment B-1    ("SUBJECT PREMISES A-1").




                                                                       BOYLAN 00271484
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 21 of 60 Page ID #:131



             b.    The Passenger Vessel    ("P/V") TRUTH located at 301

 West Cabrillo Boulevard, Santa Barbara, California, which is

 further described in Attachment A-2 for the items to be seized

 described in Attachment B-2      ("SUBJECT PREMISES A-2").

             c.    The P/V VISION located at 301 West Cabrillo

 Boulevard, Santa Barbara, California, which is further described

 in Attachment A-3, for the items to be seized described in

 Attachment B-3    ("SUBJECT PREMISES A-3").

             d.    The P/V CONCEPTION,    including all remains of the

 wreckage, hull, and/or structures, and all debris and/or

 materials associated with the P/V CONCEPTION,        including any

 digital devices recovered from the P/V CONCEPTION's wreckage

 and/or debris field (collectively, the "P/V CONCEPTION

 WRECKAGE"), which is further described in Attachment A-4, for

 the items to be seized described in Attachment B-4         ("SUBJECT

 PREMISES A-4").

       3.    Attachments A-1, A-2, A-3, A-4, B-1, B-2, B-3, and B-4

 are incorporated herein by reference.

       4.    Due to the technical nature of marine industry

 terminology, engineering, and documentation it is the intention

 of law enforcement personnel to be assisted by subject matter

 specialists and/or experts during the execution of the search

 warrants as well as the duration of the searches, evidence

 review, and analysis.

       5.    The facts set forth in this affidavit are based upon

 my personal observations, my training and experience, and

 information obtained from various law enforcement personnel and




                                                                      BOYLAN 00271485
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 22 of 60 Page ID #:132



 witnesses.        This affidavit is intended to show merely that there

 is sufficient probable cause for the requested warrant and does

 not purport to set forth all of my knowledge of or investigation

 into this matter.       Unless specifically indicated otherwise, all

 conversations and statements described in this affidavit are

 related in substance and in part only.

              III. THE REGULATORY AND STATUTORY BACKGROUND

       A.     The United States Coast Guard Regulations Regarding
              Inspection and Certification of Small Passenger
              Vessels (Under 100 Gross Tons)

       6.     The United States Coast Guard regulates, inspects, and

 certifies the operation of small passenger vessels.          These

 regulations are known as the "T-Boat" regulations, and are set

 forth in Title 46, Subchapter T, Part 175.         46 C.F.R. § 175.100.

       7.     The T-Boat regulations apply to the operation of all

 vessels of less than 100 gross tons that carry 150 or less

 passengers, or have overnight accommodations for 49 or less

 passengers, and (in relevant part) that:

              a.      Carry more than six passengers, including at

 least one for hire; or

              b.      Is chartered by the owner or the owner's

 representative and is carrying more than six passengers.

       8.     The T-Boat regulations mandate that the owner,

 charterer, master, or managing operator of a vessel carrying

 overnight passengers shall have a suitable number of watchmen

 patrol throughout the vessel during the nighttime, whether or

 not the vessel is underway, to guard against, and give alarm in




                                                                      BOYLAN 00271486
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 23 of 60 Page ID #:133



 the case of,   fire, man overboard, or other dangerous situation.

 46 C.F.R. § 185.410.

       B.    The Seaman's Manslaughter Statute

       9.    Title 18, United States Code, Section 1115

 criminalizes the misconduct or neglect of ship officers that

 result in the destruction of the life of any person.             The

 statute specifically provides as follows:

       Every captain, engineer, pilot, or other person
       employed on any steamboat or vessel, by whose
       misconduct, negligence, or inattention to his duties
       on such vessel the life of any person is destroyed,
       and every owner, charterer, inspector, or other public
       officer, through whose fraud, neglect, connivance,
       misconduct, or violation of law the life of any person
       is destroyed, shall be fined under this title or
       imprisoned not more than ten years, or both.


       When the owner or charterer of any steamboat or vessel
       is a corporation, any executive officer of such
       corporation, for the time being actually charged with
       the control and management of the operation,
       equipment, or navigation of such steamboat or vessel,
       who has knowingly and willfully caused or allowed such
       fraud, neglect, connivance, misconduct, or violation
       of law, by which the life of any person is destroyed,
       shall be fined under this title or imprisoned for not
       more than ten years, or both.


                      IV. SUMMARY OF PROBABLE CAUSE
       10.   The P/V CONCEPTION, Official Number ("O.N.")          638133,

 was a 75-foot long passenger vessel owned by the FRITZLER FAMILY

 TRUST DTD 7/27/92 and operated by TRUTH AQUATICS,         INC.     The

 vessel was consumed by a fire in the early morning hours of

 September 2, 2019, killing 33 passengers and one crewmember.

 The vessel subsequently sank near Santa Cruz Island, California.




                                                                          BOYLAN 00271487
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 24 of 60 Page ID #:134



       11.   The applicable federal regulations required the owner,

 charterer, master, or managing operator of the vessel to have a

 suitable number of watchmen patrol throughout the vessel during

 the nighttime, whether or not the vessel was underway, to guard

 against, and give alarm in the case of fire or other dangerous

 situations.

       12.   Furthermore, the vessel was required by its

 Certificate of Inspection ("COI"), issued by the USCG, to

 conduct roving patrols when the passenger bunks were occupied.

 As discussed in more detail below, although passenger bunks were

 occupied by 33 passengers and one crewmember at the time of the

 fire on September 2, 2019, there was no roving patrol or

 crewmember standing watch at the time.        Instead, every

 crewmember aboard the vessel was asleep.        No passengers survived

 the fire.

                     V.   STATEMENT OF PROBABLE CAUSE

       A.    Fire Aboard the P/V CONCEPTION

       13.   Based on my review of USCG materials and discussions

 with witnesses,    first responders, and law enforcement agents, I

 learned the following information:

             a.    that at approximately 3:30 a.m. the USCG received

 a "may day" distress call over the radio.         The USCG subsequently

 determined, based on additional radio calls and information,

 that the P/V CONCEPTION was on fire near Santa Cruz Island,

 California .

             b.    the P/V CONCEPTION was ultimately destroyed by

 the fire.




                                                                      BOYLAN 00271488
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 25 of 60 Page ID #:135



             c.   One crewmember and all 33 passengers aboard the

 vessel were killed as a result of the fire.

       B.    Lack of Watchstanding and Roving Patrols Aboard the
             P/V CONCEPTION

       14.   The P/V CONCEPTION had a COI that was valid from

 November 19, 2014, through November 19, 2019.         The COI indicates

 that the vessel had a delivery date of July 1,        1981.   The

 document also sets forth various requirements that the vessel

 must comply with.      In the "Route Permitted And Conditions of

 Operation" section of the Certificate of Inspection, it states:

       "A MEMBER OF THE VESSEL'S CREW SHALL BE DESIGNATED BY

       THE MASTER AS A ROVING PATROL AT ALL TIMES, WHETHER OR

       NOT THE VESSEL IS UNDERWAY, WHEN THE PASSENGER'S BUNKS

       ARE OCCUPIED."

       15.   I have reviewed written statements provided and signed

 by crewmember M.F., crewmember M.K., crewmember R.S., second

 captain C.M., and captain J.B. to USCG inspectors after the fire

 on or about September 2, 2019.       All of the statements indicate

 that the crewmembers,     second captain, and captain were woken by

 a fire aboard the P/V CONCEPTION early in the morning on

 September 2, 2019.     Based on these written statements,       I am

 informed and believe that all of these crewmembers were asleep

 when the fire at issue started and ultimately destroyed the P/V

 CONCEPTION.

       16.   USCG-CGIS and FBI special agents have listened to a

 recorded interview on September 4, 2019, with crewmember M.F.

 who was a deckhand aboard the P/V CONCEPTION at the time of the




                                                                        BOYLAN 00271489
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 26 of 60 Page ID #:136



 fire.        Based on my discussions with those agents, the

 crewmembers stated the following, among other things:

                 a.   M.F. confirmed that there was no fire watch or

 anchor watch aboard the P/V CONCEPTION, and that those were not

 in their procedures.

         17.    On September 6, 2019, USCG-CGIS, FBI, and ATF special

 agents interviewed crewmember C.M., the second captain aboard

 the P/V CONCEPTION at the time the vessel caught fire.           The

 interview was recorded.        Based on my discussions with those

 agents, I learned that second captain C.M. stated the following,

 among other things:

                 a.   The crew aboard the P/V CONCEPTION did not

 conduct roving patrols or have a crewmember standing watch at

 night, including when the fire occurred on September 2, 2019.

                b.    All crewmembers aboard the P/V CONCEPTION were

 sleeping at the time of the fire on September 2, 2019.

         C.     The P/V CONCEPTION WRECKAGE and Debris Field

         18.    Based upon my conversations with law enforcement

 officers and others engaged in the recovery of the P/V

 CONCEPTION WRECKAGE from the seabed,       it is my understanding that

 there is a large debris field associated with the wreckage.             The

 debris field contains all manner of evidence and material that

 was associated with the P/V CONCEPTION as it burned and sank.

 This evidence includes a number of burned and damaged personal

 digital devices, such as tablet computers and cell phones.             At

 present, the digital devices are being stored as evidence and

 forensically preserved by the FBI.




                                                                        BOYLAN 00271490
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 27 of 60 Page ID #:137



       19.   The personal digital devices recovered to date are as

 follows:

             a.     Apple   iPhone x, imei 357207094385051;

             b.     Apple   iPhone 6s,   imei 353296070333999;

             c.     Apple   iPhone 7, 355826083719624;

             d.     Apple   iPhone x, imei 354841095552369;

             e.     Apple   iPhone 6, imei 354411064453690; and

             f.     Apple iPad al954, sn GG7XK3DFJMXJ .

       20.   Evidence recovery from the P/V CONCEPTION WRECKAGE and

 debris field is ongoing.

       21.   Based upon my training and experience,         it is my

 opinion that the personal digital devices recovered from the P/V

 CONCEPTION WRECKAGE belong to either the crew or deceased

 passengers and crewmember of the vessel.

       22.   Given the nature of the fire aboard the P/V

 CONCEPTION, and the large number of passengers trapped below

 deck during the fire,      it is my opinion that digital devices

 recovered from the P/V CONCEPTION WRECKAGE may contain digital

 images, digital videos, text messages, digital audio recordings,

 and/or other documentary evidence of the events during the fire,

 and the events that led to the fire.          Similarly,   if any of the

 recovered digital devices belong to crewmembers of the P/V

 CONCEPTION,      it is also my opinion that these devices may contain

 evidence of the events that led to the fire and evidence of the

 crew's response to that fire.




                                                                       BOYLAN 00271491
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 28 of 60 Page ID #:138



        D.    Additional Information Regarding SEA LANDING and TRUTH
              AQUATICS

        23.    On September 5, 2019, USCG-CGIS Special Agent Chris

 Zajaczkowski telephonically interviewed C.C.D., who previously

 worked as a captain and in an administrative capacity for TRUTH

 AQUATICS,     INC.    Special Agent Zajaczkowski informed me that he

 learned the following from that interview:

               a.     C.C.D. worked for TRUTH AQUATICS,     INC. for

 approximately 17 years, ending in 2015.

              b.      C.C.D. managed the sales department for SEA

  LANDING,    which he indicated is affiliated with TRUTH AQUATICS,

 INC.

               c.     C.C.D. was also the master (also known as

 captain)     for approximately one year, and the second captain for

 approximately one year,       for TRUTH AQUATICS,   INC.   He worked

 aboard the P/V CONCEPTION approximately four times, and also

 worked aboard the P/V TRUTH.

               d.     Regarding roving patrols, C.C.D. indicated that

 there was no "formal" watchman while vessels were underway or at

 anchor.      Instead, C.C.D. would set the anchor alarm to detect

 vessel movements and also wake up periodically to check the

 vessel (for example, look around the decks and common spaces).

               e.     Company documents and records are kept at the

 aforementioned place of business for TRUTH AQUATICS,           INC., 301

 West Cabrillo Boulevard, Santa Barbara, California.

        24.    Based on my discussions with local law enforcement

 personnel,     SEA LANDING sells dive charter trips out of the same




                                                                        BOYLAN 00271492
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 29 of 60 Page ID #:139



 place of business that TRUTH AQUATICS,       INC.,   is connected to,

 namely 301 West Cabrillo Boulevard, Santa Barbara, California.

       25.   On September 6, 2019, I visited the website

 www.sealanding.net.     On that website,    I discovered that a person

 could book island and diving excursions with vessels operated by

 TRUTH AQUATICS,    INC., on the www.sealanding.net website.

       26.   On September 6, 2019, I conducted a "business search"

 on the California Secretary of State website.          I searched using

 the name "Truth Aquatics," and the website indicated that the

 "entity address" is 301 West Cabrillo Boulevard, Santa Barbara,

 California.

       E.    The P/V TRUTH and P/V VISION

       27.   I have reviewed the current COI for the P/V TRUTH.

 The COI indicates that the vessel is owned by the same entity as

 the P/V CONCEPTION.     It is also operated by TRUTH AQUATICS,

 INC., the same entity that operated the P/V CONCEPTION before it

 burned and sank.     As with the P/V CONCEPTION, the P/V TRUTH'S

 COI also requires that a member of the crew be designated as a

 "roving patrol" when passenger bunks are occupied.

       28.   I have reviewed the current COI for the P/V VISION.

 The COI indicates that the vessel is owned by "Glen Richard

 Fritzler Trustee," and the owner's address is listed as the

 address for TRUTH AQUATICS,      INC.   "Glen Richard Fritzler

 Trustee" is listed as the owner of the P/V CONCEPTION on at

 least one of that vessel's prior COI's.        As with the P/V

 CONCEPTION, the P/V VISION's COI also requires a "designated




                                                                      BOYLAN 00271493
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 30 of 60 Page ID #:140



 patrolman" when "passengers are in staterooms located below the

 main deck."

       29.   Based upon my review of the vessel COI's, photographs,

 and videos of the exteriors and interiors of the ship posted on

 TRUTH AQUATIC,    INC.'s website, it is my understanding and

 opinion that the P/V VISION is similar in design, layout, build,

 and age to the P/V CONCEPTION.

       30.   The P/V TRUTH is slightly older and smaller than the

 P/V CONCEPTION, however it is used for the same purpose (diving

 and sightseeing trips),     is operated by the same company as the

 P/V CONCEPTION, has a similar hull-type as the P/V CONCEPTION,

 and also has staterooms     (berths) below the main deck.

       31.   I have reviewed a letter dated January 8,       1985,   from

 the USCG to Glen Fritzler at TRUTH AQUATICS,        INC.   The letter is

 regarding electrical plans and installation for the P/V VISION.

 The letter notes that "[s]ince the electrical installation on

 the PROJECT X will be identical to the electrical installation

 on your present vessel M/V CONCEPTION (M/V ad P/V are

 interchangeable), your request to use the M/V CONCEPTION'S

 approved electrical plans in lieu of submitting new electrical

 plans is approved."     As such,   it appears that the P/V VISION's

 electrical system is relevant to a review of the electrical

 system onboard the P/V CONCEPTION.

       32.   Based on my training and experience inspecting and

 operating vessels, as well as discussions with USCG personnel

 and other agents, I am informed and believe that ships owned

 and/or operated by the same company often contain similar




                                                                      BOYLAN 00271494
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 31 of 60 Page ID #:141



 documentation, methods of operation, and posted notices.           As

 such, given that the P/V VISION, P/V TRUTH, and P/V CONCEPTION

 are all operated by TRUTH AQUATICS,       INC., the P/V VISION and P/V

 TRUTH will likely contain evidence relevant to the evaluation of

 the design, operation, and/or maintenance of the P/V CONCEPTION.

 In addition, the P/V VISION and P/V TRUTH may have information

 relevant to the origin and cause of the fire aboard the P/V

 CONCEPTION.

       33.   For example, based on the aforementioned,       I anticipate

 that the following types of evidence relevant to the fire origin

 and cause determination for the P/V CONCEPTION, the

 determination of whether the P/V CONCEPTION crew posted a

 watchman or roving patrol,     the determination of whether or not

 TRUTH AQUATICS,    INC. experienced similar dive ship vessel fires

 in the past, and the determination as to why the 34 individuals

 were unable to escape from the below-deck bunk area on the P/V

 CONCEPTION, will be located aboard the P/V VISION and P/V TRUTH:

             a.    Evidence of defective and/or non-compliant

 electrical equipment,     systems, and/or components.

             b.    Evidence of defective or non-compliant fire

 detection or suppression systems.

             c.    Evidence of defective and/or non-compliant

 passenger safety and/or evacuation structures, systems, and/or

 procedures.

             d.    Records and policies regarding compliance and/or

 non-compliance with federal,      state, and/or local laws and/or

 regulations.




                                                                      BOYLAN 00271495
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 32 of 60 Page ID #:142



              e.   Records and logs reflecting the posting of a

 watchman, patrol, and/or roving patrol aboard vessels operated

 by TRUTH AQUATICS,     INC.

              f.    Copies of local, state, and/or federal

 regulations and/or laws applicable to the operation of

 commercial dive and/or passenger vessels.

              g.   Records and logs of crewmember fire suppression

 and/or passenger safety drills or tests.

             VI.   TRAINING AND EXPERIENCE ON DIGITAL DEVICES

       34.    Based on my training, experience, and information from

 those involved in the forensic examination of digital devices,            I

 know that the following electronic evidence,        inter alia,   is

 often retrievable from digital devices:

              a.    Forensic methods may uncover electronic files or

 remnants of such files months or even years after the files have

 been downloaded, deleted, or viewed via the Internet.          Normally,

 when a person deletes a file on a computer, the data contained

 in the file does not disappear; rather, the data remain on the

 hard drive until overwritten by new data, which may only occur

 after a long period of time.       Similarly,   files viewed on the

 Internet are often automatically downloaded into a temporary

 directory or cache that are only overwritten as they are

 replaced with more recently downloaded or viewed content and may

 also be recoverable months or years later.

              b.   Digital devices often contain electronic evidence

 related to a crime, the device's user, or the existence of

 evidence in other locations, such as, how the device has been




                                                                        BOYLAN 00271496
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 33 of 60 Page ID #:143



 used, what it has been used for, who has used it, and who has

 been responsible for creating or maintaining records, documents,

 programs, applications, and materials on the device.          That

 evidence is often stored in logs and other artifacts that are

 not kept in places where the user stores files, and in places

 where the user may be unaware of them.        For example, recoverable

 data can include evidence of deleted or edited files; recently

 used tasks and processes; online nicknames and passwords in the

 form of configuration data stored by browser, e-mail, and chat

 programs; attachment of other devices; times the device was in

 use; and file creation dates and sequence.

             c.   The absence of data on a digital device may be

 evidence of how the device was used, what it was used for, and

 who used it.     For example,    showing the absence of certain

 software on a device may be necessary to rebut a claim that the

 device was being controlled remotely by such software.

             d.   Digital device users can also attempt to conceal

 data by using encryption,       steganography , or by using misleading

 filenames and extensions.       Digital devices may also contain

 "booby traps" that destroy or alter data if certain procedures

 are not scrupulously followed.        Law enforcement continuously

 develops and acquires new methods of decryption, even for

 devices or data that cannot currently be decrypted.

       35.   Based on my training, experience, and information from

 those involved in the forensic examination of digital devices, I

 know that it is not always possible to search devices for data




                                                                      BOYLAN 00271497
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 34 of 60 Page ID #:144



 during a search of the premises for a number of reasons,

 including the following:

             a.   Digital data are particularly vulnerable to

 inadvertent or intentional modification or destruction.           Thus,

 often a controlled environment with specially trained personnel

 may be necessary to maintain the integrity of and to conduct a

 complete and accurate analysis of data on digital devices, which

 may take substantial time, particularly as to the categories of

 electronic evidence referenced above.        Also, there are now so

 many types of digital devices and programs that it is difficult

 to bring to a search site all of the specialized manuals,

 equipment, and personnel that may be required.

             b.   Digital devices capable of storing multiple

 gigabytes are now commonplace.       As an example of the amount of

 data this equates to, one gigabyte can store close to 19,000

 average file size (300kb) Word documents, or 614 photos with an

 average size of 1.5MB.

       36.   Other than what has been described herein, to my

 knowledge, the United States has not attempted to obtain this

 data by other means.

 //

 //

 //

 //

 U




                                                                      BOYLAN 00271498
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 35 of 60 Page ID #:145



                              VII. CONCLUSION

       37.   For all the reasons described above,      I submit there is

 probable cause to believe that the items listed in Attachments

 B-1, B-2, B-3, and B-4, which constitute evidence, fruits,

 and/or instrumentalities of violations of 18 U.S.C.         § 1115

  (seaman's manslaughter) will be found at the premises as

 described in Attachments A-1, A-2, A-3, and A-4.




                                          Jaime E. Wray
                                          Special Agent
                                          Coast Guard Investigative
                                          Service

 Subscribed to and sworn before me
 this 7th day of September, 2019.



 HONORABLE LOUISE A. LaMOTHE
 UNITED STATES MAGISTRATE JUDGE




                                                                      BOYLAN_00271499
CM/ECF - California Central District                                                     Page 1 of 1
 Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 36 of 60 Page ID #:146


Magistrate Case Initiating Documents
2:19-mj-03738 USA v. Search Warrant

                               UNITED STATES DISTRICT COURT

                             CENTRAL DISTRICT OF CALIFORNIA

Notice of Electronic Filing

The following transaction was entered by Johns, Joseph on 9/7/2019 at 3:41 PM PDT and filed on
9/7/2019
Case Name:          USA v. Search Warrant
Case Number:        2:19-mj-03738
Filer:              USA
Document Number:!

Docket Text:
APPLICATION for Search Warrant filed by Plaintiff USA. (Not for Public View pursuant to
the E-Government Act of 2002) (Attachments: # (1) Proposed Warrant) (Attorney Joseph
O Johns added to party USA(pty:pla)) (Johns, Joseph)


2:19-mj-03738-l Notice has been electronically mailed to:

2:19-mj-03738-l Notice has been delivered by First Class U. S. Mail or by other means BY THE
FILER to :

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:C:\Users\nluqueno\Desktop\prem 4\Cover for SW Application_PremisesA4_PV
Conception Wreckage MAW final.pdf
Electronic document Stamp:
[STAMP cacdStamp_ID= 1020290914 [Date=9/7/2019] [FileNumber=28363591-0]
[5a30d27072bd5ee25fbbef8cd4b65283d8165147164c0d74037cef5fl8c277d26056
05fac8ec 10c6271 c611079116f5a4fb5c9bd8b9c0739fc749d5e8b3d 10a6]]
Document description:Proposed Warrant
Original filename:C:\Users\nluqueno\Desktop\prem 4\Cover for SW_PremisesA4_PV Conception
Wreckage_SEALED MAW.pdf                                                     ”
Electronic document Stamp:
[STAMP cacdStamp_ID= 1020290914 [Date=9/7/2019] [FileNumber=28363591-l]
[62e751117d87c6c5807ccee52d4ed4faaac873e2b75d8ac814al 24f76c47f2848162
72fdc85ddb599bc7a519cecf5fl88e7ee4438b5c76b61fcdb7a8484ef304]]




https://ecf.cacd.uscourts.gov/cgi-bin/Dispatch.pl7637702337860445                          9/7/2019
                                                                                         BOYLAN 00271500
         Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 37 of 60 Page ID #:147

AO 93 (Rev. 11/13) Search and Seizure Warrant (USAO CDCA Rev. 04/17)
                                                                                                                 ORIGINAL
                                         United States District Court
                                                                        for the
                                                            Central District of California

                          In the Matter of the Search of                   )
                  The Passenger Vessel Conception Wreckage                 )
                                                                           )        Case No. 2:19-MJ-03738
                                                                           )
                                                                           )
                                                                           )
                                                                           )
                                                                           )

                                                SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Central District of California (identify the person or describe the property to be searched
and give its location):

        See Attachment A-4

        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

        See Attachment B-4

        Such affidavit(s) or testimony are incorporated herein by reference.

          YOU ARE COMMANDED to execute this warrant on or before 14 days from the date of its issuance (not to exceed 14 days)
            in the daytime 6:00 a.m. to 10:00 p.m.              at any time in the day or night because good cause has been established.
        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to the U.S. Magistrate Judge on duty at the time of the return
through a filing with the Clerk's Office,
          Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
            for       days (not to exceed 30)        until, the facts justifying, the later specific date of


Date and time issued:                                                             _______
                              1            (                                                              Judge 4ssignature
                                                                                  Honorable Louise A. LaMothe
City and state:             Santa Barbara, CA
                                                                                                        Printed name and title

AUSAs: Mark Williams x3359 & Joseph
Johns x4536


           00061085


                                                                                                                                 BOYLAN 00061085
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 38 of 60 Page ID #:148




                                  ATTACHMENT A-4

           THE SUBJECT PREMISES

           SUBJECT PREMISES A-4 is the vessel P/V CONCEPTION, Official

  Number 638133, including all remains of the wreckage, hull,

  and/or structures, and all debris and/or materials associated

  with the P/V CONCEPTION, including any digital devices recovered

  from the P/V CONCEPTION'S wreckage and/or debris field

   (collectively, the "P/V CONCEPTION WRECKAGE").      The name

  "Conception" and the Official Number 638133 are painted on the

  side of the hull.




00061086


                                                                      BOYLAN 00061086
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 39 of 60 Page ID #:149




                                ATTACHMENT B-4

                           I.   ITEMS TO BE SEIZED

           The following is a list of items to be seized from SUBJECT

  PREMISES A-4, namely, the P/V CONCEPTION WRECKAGE, which

  constitute evidence, contraband, fruits, and/or

  instrumentalities of violations of 18 U.S.C. § 1115 (Seaman's

  Manslaughter):


           1.   The Passenger Vessel ("P/V") CONCEPTION, including all

  remains of the wreckage, hull, and/or structures, and all debris
  and/or materials associated with the P/V CONCEPTION, including

  any digital devices recovered from the P/V CONCEPTION'S wreckage

  and/or debris field.

           2.   Evidence relating to the origin of the fire aboard the

  P/V CONCEPTION on or about September 2, 2019.

           3.   Evidence relating to the causation of the fire aboard

  the P/V CONCEPTION on or about September 2, 2019.

           4’   .   Evidence of custom, defective, and/or non-compliant

  electrical equipment, systems, and/or components on the P/V

  CONCEPTION.

           5.   Evidence of custom, defective, or non-compliant fire

  detection or suppression systems on the P/V CONCEPTION.

           6.   Evidence of custom, defective, and/or non-compliant

  passenger safety and/or evacuation structures, systems, and/or

  procedures on the P/V CONCEPTION.




                                      1


00061087


                                                                      BOYLAN 00061087
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 40 of 60 Page ID #:150




           7.   Any digital device which is itself or which contains

  evidence, contraband, fruits, or instrumentalities of the

  Subject Offense/s, and forensic copies thereof.

           8.   With respect to any digital device containing evidence

  falling within the scope of the foregoing categories of items to

  be seized:

                a.   evidence of who used, owned, or controlled the

  device at the time the things described in this warrant were

  created, edited, or deleted, such as logs, registry entries,

  configuration files, saved usernames and passwords, documents,

  browsing history, user profiles, e-mail, e-mail contacts, chat

  and instant messaging logs, photographs, and correspondence;

                b.   evidence of the presence or absence of software

  that would allow others to control the device, such as viruses,

  Trojan horses, and other forms of malicious software, as well as

  evidence of the presence or absence of security software

  designed to detect malicious software;

                c.   evidence of the attachment of other devices;

                d.   evidence of counter-forensic programs   (and

  associated data) that are designed to eliminate data from the

  device;

                e.   evidence of the times the device was used;

                f.   passwords, encryption keys, biometric keys, and

  other access devices that may be necessary to access the device;

                g.   applications, utility programs, compilers,

  interpreters, or other software, as well as documentation and




                                      2


00061088


                                                                       BOYLAN 00061088
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 41 of 60 Page ID #:151




  manuals, that may be necessary to access the device or to

  conduct a forensic examination of it;

                 h.   records of or information about Internet Protocol

  addresses used by the device;

                 i.   records of or information about the device's

  Internet activity, including firewall logs, caches, browser

  history and cookies, "bookmarked" or "favorite" web pages,

  search terms that the user entered into any Internet search

  engine, and records of user-typed web addresses.

           9.    As used herein, the terms "records," "documents,"

  "programs," "applications," and "materials" include records,

  documents, programs, applications, and materials created,

  modified, or stored in any form, including in digital form on

  any digital device and any forensic copies thereof.

           10.   As used herein, the term "digital device" includes any

  electronic system or device capable of storing or processing

  data in digital form, including central processing units;

  desktop, laptop, notebook, and tablet computers; personal

  digital assistants; wireless communication devices, such as

  telephone paging devices, beepers, mobile telephones, and smart

  phones; digital cameras; gaming consoles      (including Sony

  PlayStations and Microsoft Xboxes); peripheral input/output

  devices, such as keyboards, printers, scanners, plotters,

  monitors, and drives intended for removable media; related

  communications devices, such as modems, routers, cables, and

  connections; storage media, such as hard disk drives, floppy

  disks, memory cards, optical disks., and magnetic tapes used to


                                       3


00061089


                                                                      BOYLAN 00061089
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 42 of 60 Page ID #:152




  store digital data (excluding analog tapes such as VHS); and

  security devices.


                      11.        SEARCH PROCEDURE FOR DIGITAL DEVICES


           11.   In searching digital devices or forensic copies

  thereof, law enforcement personnel executing this search warrant

  will employ the following procedure:

                 a.         Law enforcement personnel or other individuals

  assisting law enforcement personnel (the "search team") will, in

  their discretion, either search the digital device(s) on-site or

  seize and transport the device(s) and/or forensic image(s)

  thereof to an appropriate law enforcement laboratory or similar

  facility to be searched at that location.                The search team shall

  complete the search as soon as is practicable but not to exceed

  120 days from the date of execution of the warrant.                   The

  government will not search the digital device(s) and/or forensic

  image(s) thereof beyond this 120-day period without obtaining an

  extension of time order from the Court.

                 b.         The search team will conduct the search only by

  using search protocols specifically chosen to identify only the

  specific items to be seized under this warrant.

                            i.     The search team may subject all of the data

  contained in each digital device capable of containing any of

  the items to be seized to the search protocols to determine

  whether the device and any data thereon falls within the list of

  items to be seized.               The search team may also search for and




                                                4


00061090


                                                                              BOYLAN 00061090
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 43 of 60 Page ID #:153




  attempt to recover deleted, "hidden," or encrypted data to

  determine, pursuant to the search protocols, whether the data

  falls within the list of items to be seized.

                        The search team may use tools to exclude

  normal operating system files and standard third-party software

  that do not need to be searched.

                   iii. The search team may use forensic examination

  and searching tools, such as "EnCase" and "FTK" (Forensic Tool

  Kit), which tools may use hashing and other sophisticated

  techniques4r—to sear cJa—nt w FT"' "lrn?m’P?r~ ri f e h-i-Ul



             c.    If the search team, while searching a digital

  device, encounters immediately apparent contraband or other

  evidence of a crime outside the scope of the items to be seized,

  the team shall immediately discontinue its search of that device

  pending further order of the Court and shall make and retain

  notes detailing how the contraband or other evidence of a crime

  was encountered, including how it was immediately apparent

  contraband or evidence of a crime.

             d.    If the search determines that a digital device

  does not contain any data falling within the list of items to be

  seized, the government will, as soon as is practicable, return

  the device and delete or destroy all forensic copies thereof.

             e.    If the search determines that a digital device

  does contain data falling within the list of items to be seized,

  the government may make and retain copies of such data, and may

  access such data at any time.


                                     5


00061091


                                                                      BOYLAN 00061091
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 44 of 60 Page ID #:154




                 f.   If the search determines that a digital device is

   (2) itself an item to be seized and/or (2) contains data falling

  within the list of other items to be seized, the government may

  retain the digital device and any forensic copies of the digital

  device, but may not access data falling outside the scope of the

  other items to be seized (after the time for searching the

  device has expired) absent further court order.

                 g.   The government may also retain a digital device

  if the government, prior to the end of the search period,

  obtains an order from the Court authorizing retention of the

  device (or while an application for such an order is pending),

  including in circumstances where the government has not been

  able to fully search a device because the device or files

  contained therein is/are encrypted.

                 h.   After the completion of the search of the digital

  devices, the government shall not access digital data falling

  outside the scope of the items to be seized absent further order

  of the Court.

           12.   This warrant authorizes a review of electronic storage

  media seized, electronically stored information, communications,

  other records and information seized, copied or disclosed

  pursuant to this warrant in order to locate evidence, fruits,

  and instrumentalities described in this warrant.       The review of

  this electronic data may be conducted by any government

  personnel assisting in the investigation, who may include, in

  addition to law enforcement officers and agents, attorneys for

  the government, attorney support staff, and technical experts.


                                       6


00061092


                                                                      BOYLAN 00061092
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 45 of 60 Page ID #:155




  Pursuant to this warrant, the investigating agency may deliver a

  complete copy of the seized, copied, or disclosed electronic

  data to the custody and control of attorneys for the government

  and their support staff for their independent review.

           13.   In order to search for data capable of being read or

  interpreted by a digital device, law enforcement personnel are

  authorized to seize the following items:

                 a.   Any digital device capable of being used to

  commit, further, or store evidence of the offense(s) listed

  above;

                 b.   Any equipment used to facilitate the

  transmission, creation, display, encoding, or storage of digital

  data;

                 c.   Any magnetic, electronic, or optical storage

  device capable of storing digital data;

                 d.   Any documentation, operating logs, or reference

  manuals regarding the operation of the digital device or

  software used in the digital device;

                 e.   Any applications, utility programs, compilers,

  interpreters, or other software used to facilitate direct or

  indirect communication with the digital device;

                 f.   Any physical keys, encryption devices, dongles,

  or similar physical items that are necessary to gain access to

  the digital device or data stored on the digital device; and

                 g.   Any passwords, password files, biometric keys,

  test keys, encryption codes, or other information necessary to

  access the digital device or data stored on the digital device.


                                       7


00061093


                                                                       BOYLAN 00061093
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 46 of 60 Page ID #:156




           14.   The special procedures relating to digital devices

  found in this warrant govern only the search of digital devices

  pursuant to the authority conferred by this warrant and do not

  apply to any search of digital devices pursuant to any other

  court order.




                                       8


00061094


                                                                      BOYLAN 00061094
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 47 of 60 Page ID #:157




                       EXHIBIT D
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 48 of 60 Page ID #:158
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 49 of 60 Page ID #:159




                       EXHIBIT E
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 50 of 60 Page ID #:160
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 51 of 60 Page ID #:161
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 52 of 60 Page ID #:162
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 53 of 60 Page ID #:163




                       EXHIBIT F
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 54 of 60 Page ID #:164




             · ? Federal Bureau of Investigation                                Operational Technology
                                                                                 ERF Building 27958A
             /' Digital Forensics Analysis Section                             Quantico, Virginia 22135




                            TECHNICAL       ASSISTANCE         REPORT


To:          Los Angeles                          Date:            April 20, 2022
             Attn: SA Joseph P. Hamer/CART Dennis
             Carl Vollrath                        Case ID:         45-LA-3161932
                                                                   268-HQ-1305912-EE

                                                       Lab No.:    HQQ191205005

Reference:   Service Request dated December 16, 2019

Ref. No.:    Serial 409

Title:       Conception Dive Boat,
             Truth Aquatics;
             Crimes on the High Seas

Date specimen received:    December 05,2019

Specimens:


             HQQ021384    Apple iPad with 1B of 1B119 and San Diego (SD) RCFL of 00185086.

             HQQ021385    Apple iPad with an International Mobile Equipment Identity (IMEI) of
                          357207094385051, IB of IB134, and SDRCFL of 00185081.

             HQQ021386    Apple iPhone with IB of IB136 and SDRCFL of 00185082.

             HQQ021387    Apple iPhone with IB of IB117 and SDRCFL of 00185080.

             HQQ021388    Apple iPhone with an IMEI of355826083719624,       IB of 1B135, and
                          SDRCFL of 00185084.

             HQQ021389    Apple iPhone with 1B of 1B137 and SDRCFL of 00185085.

             HQQ021390    Apple iPhone with an IMEI of354841095552369,       IB of IB129, and
                          SDRCFL of 00185083.


Page lof3
                                       For Official Use Only
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 55 of 60 Page ID #:165




             HQQ021391       Unknown Fragment of PCB with 1B of 1Bl18 and SDRCFL of
                             00185089.

             HQQ022878       Sprint 63.09a Subscriber Identity Module (SIM) Card with an Integrated
                             Circuit Card Identifier (ICCID) of 89011201000644329136.

             HQQ022879       SIM Card with an ICCID of 89148000004452607115.

             HQQ022880       SIM Card.

             HQQ022881       Verizon SIM Card with an ICCID of89148 0000029431       94214.

             HQQ022882       T-Mobile SIM Card.

             HQQ022883       Sprint 80.02a SIM Card with an ICCID of 89011202000240084688.


 Derivative Evidence (DE):


             NONE


 Summary:


             The Electronic Device Analysis Unit (EDAU) was requested to process the submitted
             evidence.




45-LA-3161932
268-HQ-1305912-EE
HQQ191205005
Page 2 of3
                                         For Official Use Only
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 56 of 60 Page ID #:166




Details:


             All submitted evidence items were labeled and photographed. Additionally, the following
             procedures were performed.

             The HQQ021384, HQQ021385, HQQ021388, HQQ021389, HQQ021390, and HQQ021391
             specimens were each triaged by Supervisory Electronics Engineer (SEE) Michael McFarlane
             and determined to be significantly damaged with a possibility of data recovery. Initial attempts
             to repair were unsuccessful. At the request of Special Agent Joseph Hamer, further repair
             attempts are being halted at this time.

             The HQQ021387 specimen was triaged by SEE McFarlane and determined to be damaged
             beyond repair.

             No examination was performed by EDAU on the HQQ022878, HQQ022879, HQQ022881,
             HQQ022882, and HQQ022883 specimens.

             The HQQ021386 and HQQ022880 specimens were transferred to CART for
             examination/extraction.

             At the request of the field, all submitted evidence in EDAU's custody is being returned to the
             Los Angeles field office via Operational Technology Division (OTD) Evidence Control. At
             this time, EDAU considers this examination complete. The case notes and other supporting
             documents are being retained within the OTD case file.




                                                      Name:




                                                      Name:
                                                                             Michael McFartme



                                                      Operational Technology Division
                                                      Electronic Device Analysis Unit




45-LA-3161932
268-HQ-1305912-EE
HQQ191205005
Page 3 of3
                                          For Official Use Only
Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 57 of 60 Page ID #:167




                       EXHIBIT G
                               Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 58 of 60 Page ID #:168
                                                 Digital Devices Recovered from Conception Wreckage

                                                                                                                     Successful
   FBI Number                Description                  ID Number     Date Seized         Location Seized                        Basis for Search                          Search Method
                                                                                                                     extraction?
                (U) Item 33 ‐ Possible electronic                                                                                                     Item 1B116 was fused into one piece and could not be
1B116                                                                 9/6/2019        Santa Barbara Harbor     No
                device, Android                                                                                                                       prepared for further examination
                (U) Item 32 ‐ One (1) cellphone;                                                                                                      4/20/22 ‐ Triaged by SEE McFarlaneM and determined to be
1B117                                                   HQQ021387     9/6/2019        Santa Barbara Harbor     No
                Apple iPhone                                                                                                                          damaged beyond repair
                                                                                                                                                      4/20/22 ‐ Triaged by SEE McFarlaneM and determined to be
                (U) Item 31 ‐ Portable electronic;
1B118                                                   HQQ021391     9/6/2019        Santa Barbara Harbor     No                                     significantly damaged with a possibility of data recovery.
                Unknown Fragment of PCB
                                                                                                                                                      Initial attempts to repair were unsuccessful
                                                                                                                                                      4/20/22 ‐ Triaged by SEE McFarlaneM and determined to be
                (U) Item 30 ‐ Tablet with black case;
1B119                                                   HQQ021384     9/6/2019        Santa Barbara Harbor     No                                     significantly damaged with a possibility of data recovery.
                Apple iPad
                                                                                                                                                      Initial attempts to repair were unsuccessful
                Sprint 63.09a SIM Card (ICCID:
1B Digital      8901120100 0644329136) (Found in HQQ022878            9/6/2019        Santa Barbara Harbor     No                                     Not examined
                same evidence bag as 1B119)
1B127           (U) Item 22 ‐ Hero 4 GoPro with case                  9/5/2019        Santa Barbara Harbor     No                                     Not examined
                                                                                                                                                      4/20/22 ‐ Triaged by SEE McFarlaneM and determined to be
                (U) Item 20 ‐ One (1) cellphone with
1B129                                                HQQ021390        9/4/2019        Santa Barbara Harbor     No                                     significantly damaged with a possibility of data recovery.
                case; Apple iPhone
                                                                                                                                                      Initial attempts to repair were unsuccessful
                Sprint 80.02a SIM Card (ICCID:
1B Digital      8901120200 0240084688) (Found in HQQ022883            9/4/2019        Santa Barbara Harbor     No                                     Not examined
                same evidence bag as 1B129)
                (U) Item 15 ‐ One (1) cellphone,                                                                                                      4/20/22 ‐ Triaged by SEE McFarlaneM and determined to be
                                                                                      Santa Barbara County
1B134           Apple iphone with case and pop     HQQ021385          9/4/2019                                 No                                     significantly damaged with a possibility of data recovery.
                                                                                      Coroner
                socket (Apple iPad?)                                                                                                                  Initial attempts to repair were unsuccessful
                SIM Card (ICCID: 89148 00000 44526
                                                                                      Santa Barbara County
1B Digital      07115) (Found in same evidence bag HQQ022879          9/4/2019                                 No                                     Not examined
                                                                                      Coroner
                as 1B134)
                                                                                                                                                      4/20/22 ‐ Triaged by SEE McFarlaneM and determined to be
                (U) Item 14 ‐ One (1) cellphone,                                      Santa Barbara County
1B135                                                   HQQ021388     9/4/2019                                 No                                     significantly damaged with a possibility of data recovery.
                Apple iphone with case                                                Coroner
                                                                                                                                                      Initial attempts to repair were unsuccessful
                Verizon SIM Card (ICCID: 89148
                                                                                      Santa Barbara County
1B Digital      00000 29431 94214) (Found in same HQQ022881           9/4/2019                                 No                                     Not examined
                                                                                      Coroner
                evidence bag as 1B135)
                (U) Item 13 ‐ One (1) cellphone, pink                                 Santa Barbara County
1B136                                                 HQQ021386       9/4/2019                                 Yes                 Consent            8/11/22 ‐ Cellebrite Extraction by SA HamerJ
                Apple iphone                                                          Coroner
                SIM Card (Found in same evidence                                      Santa Barbara County
1B Digital                                              HQQ022880     9/4/2019                                 No                                     Not examined
                bag as 1B136)                                                         Coroner
                                                                                                                                                      4/20/22 ‐ Triaged by SEE McFarlaneM and determined to be
                (U) Item 12 ‐ One (1) cellphone, silver                               Santa Barbara County
1B137                                                   HQQ021389     9/4/2019                                 No                                     significantly damaged with a possibility of data recovery.
                Apple iphone                                                          Coroner
                                                                                                                                                      Initial attempts to repair were unsuccessful
                T‐Mobile SIM Card (Found in same                                      Santa Barbara County
1B Digital                                              HQQ022882     9/4/2019                                 No                                     Not examined
                evidence bag as 1B137)                                                Coroner
                                                                                                                                                      9/27/2019 ‐ Examination and extraction by SSA CooneyB; File
                (U) Item 50 ‐ One (1) cell phone with
1B174                                                 HQQ018285       9/10/2019       Port Hueneme Exam Site   Yes                 Search Warrant     System Extraction using GrayKey 1.11.11 (Device repaired by
                red case; Apple iPhone 7
                                                                                                                                                      OssmanM)
                                                                                                                                                      4/5/22 ‐ Evaluated by OssmanM and determined to be
                (U) Item 49 ‐ One (1) cell phone;
1B175                                                   HQQ018280     9/10/2019       Port Hueneme Exam Site   No                                     significantly damaged. Attempts to repair specimen were
                Apple iPhone X
                                                                                                                                                      unsuccessful
                       Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 59 of 60 Page ID #:169
                                         Digital Devices Recovered from Conception Wreckage

        AT&T Sim Card (See 1B175) (ICCID:
                                            HQQ018281    9/10/2019   Port Hueneme Exam Site   No                     Not examined
        89014104270511387531)
1B176   (U) Item 48 ‐ One (1) camera        HQQ018282    9/10/2019   Port Hueneme Exam Site   No                     Not examined
        SD Card; Damaged Secure Digital (SD)                                                                         Evaluated by OssmanM and determined that no data was able
                                             HQQ018283   9/10/2019   Port Hueneme Exam Site   No
        Card (Removed from 1B176)                                                                                    to be extracted due to extensive physical damage

                                                                                                                     9/23/2019 ‐ Examination and extraction by SSA CooneyB; File
        (U) Item 47 ‐ One (1) ipad with
1B177                                       HQQ018284    9/10/2019   Port Hueneme Exam Site   Yes   Search Warrant   System Extraction using GrayKey 1.11.11 (Device repaired by
        reddish case; Apple iPad 4
                                                                                                                     OssmanM)
1B227   (U) Possible electronic device                   9/5/2019    Santa Barbara Harbor     No                     Not examined
                                                                                                                     8/22/22 ‐ Evaluated by SEE McFarlaneM and determined to be
1B247   Samsung Galaxy S10                  HQQ020454    9/11/2019   Port Hueneme Exam Site   No
                                                                                                                     significantly damaged with a possibility of data recovery

                                                                                                                     8/22/22 ‐ Evaluated by SEE McFarlaneM and determined to be
1B248   Samsung Galaxy S10                  HQQ020457    9/11/2019   Port Hueneme Exam Site   No
                                                                                                                     significantly damaged with a possibility of data recovery

                                                                                                                     8/22/22 ‐ Triaged by SEE McFarlaneM and determined to be
1B288   (U) Camera with Sim Card            HQQ020462    9/19/2019   Port Hueneme Exam Site   No
                                                                                                                     damaged to an extent where data recovery was unlikely

        (U) Item 303: Apple Tablet with                                                                              8/22/22 ‐ Triaged by SEE McFarlaneM and determined to be
1B289                                       HQQ020462    9/20/2019   Port Hueneme Exam Site   No
        Stylus                                                                                                       damaged to an extent where data recovery was unlikely


        (U) Item 304: Portable Electronic                                                                            10/16/22 ‐ Cellebrite Extraction Report by DFE BeltranK and
1B290                                       HQQ031144    9/20/2019   Port Hueneme Exam Site   Yes   Search Warrant
        Device; Apple A1662 iPhone SE                                                                                SA HamerJ

        SIM Card (ICCID:
1B290                                       HQQ030328    9/20/2019   Port Hueneme Exam Site   No                     Not examined
        89014102271386495336007646)
                                                                                                                     8/22/22 ‐ Triaged by SEE McFarlaneM and determined to be
1B291   (U) Item 305: Camera                HQQ020462    9/20/2019   Port Hueneme Exam Site   No
                                                                                                                     damaged to an extent where data recovery was unlikely

        (U) Item 306: Pieces of Possible                                                                             8/22/22 ‐ Triaged by SEE McFarlaneM and determined to be
1B292                                       HQQ020462    9/20/2019   Port Hueneme Exam Site   No
        Electronic Device                                                                                            damaged to an extent where data recovery was unlikely
                                                                                                                     8/22/22 ‐ Triaged by SEE McFarlaneM and determined to
                                                                                                                     either contain no memory components which could contain
1B293   (U) Item 327: Apple Digital Watch   HQQ020459    9/22/2019   Port Hueneme Exam Site   No
                                                                                                                     data, or to be damaged to an extent where no data recovery
                                                                                                                     was possible
                                                                                                                     8/22/22 ‐ Triaged by SEE McFarlaneM and determined to
                                                                                                                     either contain no memory components which could contain
1B294   (U) Item 329: iPhone                HQQ020452    9/22/2019   Port Hueneme Exam Site   No
                                                                                                                     data, or to be damaged to an extent where no data recovery
                                                                                                                     was possible
                                                                                                                     8/22/22 ‐ Triaged by SEE McFarlaneM and determined to
                                                                                                                     either contain no memory components which could contain
1B295   (U) Item 335: Camera                HQQ020448    9/22/2019   Port Hueneme Exam Site   No
                                                                                                                     data, or to be damaged to an extent where no data recovery
                                                                                                                     was possible
                                                                                                                     8/22/22 ‐ Triaged by SEE McFarlaneM and determined to
                                                                                                                     either contain no memory components which could contain
1B296   (U) Item 351: Cell Phone            HQQ020461    9/22/2019   Port Hueneme Exam Site   No
                                                                                                                     data, or to be damaged to an extent where no data recovery
                                                                                                                     was possible
                       Case 2:22-cr-00482-GW Document 28-1 Filed 03/23/23 Page 60 of 60 Page ID #:170
                                         Digital Devices Recovered from Conception Wreckage

                                                                                                                    8/22/22 ‐ Triaged by SEE McFarlaneM and determined to
                                                                                                                    either contain no memory components which could contain
1B297   (U) Item 352: Cell Phone             HQQ020455   9/22/2019    Port Hueneme Exam Site        No
                                                                                                                    data, or to be damaged to an extent where no data recovery
                                                                                                                    was possible
                                                                                                                    8/22/22 ‐ Triaged by SEE McFarlaneM and determined to be
1B298   (U) Item 355: Electronic Device      HQQ020462   9/24/2019    Port Hueneme Exam Site        No
                                                                                                                    damaged to an extent where data recovery was unlikely
1B299   (U) Item 356: Electronic Device                  9/24/2019    Port Hueneme Exam Site        No              Not examined
                                                                                                                    8/22/22 ‐ Triaged by SEE McFarlaneM and determined to
                                                                                                                    either contain no memory components which could contain
1B300   (U) Item 358: Camera                 HQQ020449   9/24/2019    Port Hueneme Exam Site        No
                                                                                                                    data, or to be damaged to an extent where no data recovery
                                                                                                                    was possible
                                                                                                                    8/22/22 ‐ Triaged by SEE McFarlaneM and determined to
                                                                                                                    either contain no memory components which could contain
1B301   (U) Item 359: Camera                 HQQ020453   9/24/2019    Port Hueneme Exam Site        No
                                                                                                                    data, or to be damaged to an extent where no data recovery
                                                                                                                    was possible
                                                                                                                    8/22/22 ‐ Triaged by SEE McFarlaneM and determined to
                                                                                                                    either contain no memory components which could contain
1B302   (U) Item 360: Camera                 HQQ020447   9/24/2019    Port Hueneme Exam Site        No
                                                                                                                    data, or to be damaged to an extent where no data recovery
                                                                                                                    was possible
                                                                                                                    8/22/22 ‐ Triaged by SEE McFarlaneM and determined to
                                                                                                                    either contain no memory components which could contain
1B303   (U) Item 361: Electronic             HQQ020456   9/24/2019    Port Hueneme Exam Site        No
                                                                                                                    data, or to be damaged to an extent where no data recovery
                                                                                                                    was possible
                                                                                                                    8/22/22 ‐ Triaged by SEE McFarlaneM and determined to
                                                                                                                    either contain no memory components which could contain
1B304   (U) Item 362: Electronic             HQQ020458   9/24/2019    Port Hueneme Exam Site        No
                                                                                                                    data, or to be damaged to an extent where no data recovery
                                                                                                                    was possible
                                                                                                                    8/22/22 ‐ Triaged by SEE McFarlaneM and determined to
                                                                                                                    either contain no memory components which could contain
1B305   (U) Item 363: Cell Phone Charred     HQQ020460   9/24/2019    Port Hueneme Exam Site        No
                                                                                                                    data, or to be damaged to an extent where no data recovery
                                                                                                                    was possible
                                                                                                                    8/22/22 ‐ Triaged by SEE McFarlaneM and determined to
                                                                                                                    either contain no memory components which could contain
1B306   (U) Item 366: Cell Phone             HQQ020450   9/24/2019    Port Hueneme Exam Site        No
                                                                                                                    data, or to be damaged to an extent where no data recovery
                                                                                                                    was possible
                                                                                                                    8/22/22 ‐ Triaged by SEE McFarlaneM and determined to
                                                                                                                    either contain no memory components which could contain
1B307   (U) Item 368: Phone                  HQQ020451   9/24/2019    Port Hueneme Exam Site        No
                                                                                                                    data, or to be damaged to an extent where no data recovery
                                                                                                                    was possible
        (U) Charred black and white mobile
1B518                                                    10/15/2020   Santa Barbara Sheriff's Office No             Damaged beyond the point of repair (See BOYLAN_00331310)
        phone
                                                                                                                    9/2/2022 ‐ Evaluated by A. Wesley Chappell and determined
1B519   (U) Charred Silver iPhone            HQQ031638   10/15/2020   Santa Barbara Sheriff's Office No   Consent   to be significantly damaged with minimal chance of data
                                                                                                                    recovery
